          Case 1:18-cv-01458-PLF Document 50 Filed 08/27/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

M.G.U, et al.                             )
                                          )
                                          )
                        Plaintiffs,       )                   No. 1:18-cv-01458 (PLF)
                                          )
v.                                        )
                                          )
Kirstjen Nielsen, et al.,                 )
                                          )
                        Defendants.       )
                                          )
_________________________________________ )

                                   JOINT STATUS REPORT

       The parties, by and through their undersigned counsel, respectfully submit the following

report in accordance with the Court’s August 20, 2018 Minute Order.

Plaintiffs’ Position

       Plaintiffs’ counsel is currently in the process of arranging meetings with their clients so

that they can discuss the litigation with those clients and make decisions about how to proceed

with this litigation. Due to the urgency of other work commitments, as well as the difficulty of

arranging those meetings, Plaintiffs request an additional two weeks, or until September 10, to

complete those meetings and report back to the Court.

       With respect to the service issue raised by Defendants, Plaintiffs expect to effect service of

the Complaint by certified mail today. Plaintiffs’ counsel has advised Defendants’ counsel that

they are in the process of discussing the status of this case with their clients, and have suggested

that Defendants wait until the resolution of those discussions to file their motion to dismiss, as the

decisions Plaintiffs make (including the possibility that Plaintiffs may seek to file an Amended
            Case 1:18-cv-01458-PLF Document 50 Filed 08/27/18 Page 2 of 4



Complaint) may impact such a motion. If Defendants nevertheless proceed with a motion to

dismiss, Plaintiffs’ current intention is to oppose any such motion.

Defendants’ Position

       Defendants have not yet been properly served in accordance with Federal Rule of Civil

Procedure 4. Once service is made on the U.S. Attorney’s Office, the rules of procedure afford

Defendants 60 days to move to dismiss or answer the Complaint. Defendants plan to file a motion

to dismiss the Complaint on or before Defendants’ deadline to respond to the complaint afforded

by the Federal Rules of Civil Procedure. Moreover, as Defendants believe this case is moot, they

plan to file a motion to dismiss the Complaint as moot, and may do so in advance of their response

deadline.




                                                 2
        Case 1:18-cv-01458-PLF Document 50 Filed 08/27/18 Page 3 of 4



                                   Respectfully submitted,

DATE: August 27, 2018
                                   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP

                                     /s/ Steven C. Herzog
                                   Steven C. Herzog (admitted pro hac vice)
                                   Meredith A. Arfa (admitted pro hac vice)
                                   Anand Sithian (admitted pro hac vice)
                                   Katherine Kelly Fell (admitted pro hac vice)
                                   1285 Avenue of the Americas
                                   New York, NY 10019-6064
                                   (212) 373-3000
                                   sherzog@paulweiss.com
                                   marfa@paulweiss.com
                                   asithian@paulweiss.com
                                   kfell@paulweiss.com

                                   David J. Ball (DC Bar No. 460055)
                                   2001 K Street, NW
                                   Washington, DC 20006-1047
                                   (202) 223-7352
                                   dball@paulweiss.com

                                   TEXAS RIOGRANDE LEGAL AID, INC.

                                   Jerome Wesevich (D.D.C. Bar No. TX0125)
                                   Amanda Chisholm (Texas Bar No. 24040684)
                                   Peter McGraw (Texas Bar No. 24081036)
                                   1331 Texas Avenue
                                   El Paso, Texas 79901
                                   (915) 241-0534
                                   jwesevich@trla.org
                                   achisholm@trla.org
                                   pmcgraw@trla.org

                                   Attorneys for Plaintiffs

                                          and


DATE: August 27, 2018                     Respectfully submitted,
                                   CHAD A. READLER
                                   Acting Assistant Attorney General
                                   WILLIAM C. PEACHEY
                                   Director



                                      3
Case 1:18-cv-01458-PLF Document 50 Filed 08/27/18 Page 4 of 4



                           WILLIAM C. SILVIS
                           Assistant Director

                       By: Sarah B Fabian
                           SARAH B. FABIAN
                           Senior Litigation Counsel
                           U.S. Department of Justice
                           Office of Immigration Litigation
                           District Court Section
                           Box 868, Ben Franklin Station
                           Washington, DC 20442
                           Telephone: (202) 532-4824
                           Fax: (202) 616-8962
                           E-mail: Sarah.B.Fabian@usdoj.gov

                                  and

                           JESSIE K. LIU, D.C. Bar #472845
                           United States Attorney
                           DANIEL F. VAN HORN
                           D.C. BAR # 924092
                           Civil Chief

                           JEREMY S. SIMON, D.C. BAR #447956
                           Assistant United States Attorney
                           555 4th Street, N.W.
                           Washington, D.C. 20530
                           (202) 252-2528
                           Jeremy.simon@usdoj.gov

                           Counsel for Defendants




                              4
